               Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 1 of 33



     Brian A. Knutsen, WSBA No. 38806
 1
     Kampmeier & Knutsen PLLC
 2   P.O. Box 15099, Portland, Oregon 97293
     Tel: (503) 841-6515
 3
 4   Paul A. Kampmeier, WSBA No. 31560
     Kampmeier & Knutsen, PLLC
 5   615 Second Ave., Suite 360, Seattle WA 98104
     Tel: (206) 223-4088 x 4
 6
 7   Doug DeRoy (Oregon State Bar #170934)
        Pro hac vice application forthcoming
 8   Kevin Cassidy (Oregon State Bar #025296)
 9      Pro hac vice application forthcoming
     Earthrise Law Center
10   Lewis & Clark Law School
     10015 S.W. Terwilliger Blvd.
11
     Portland, OR 97219
12   Tel: (503) 768-6825
     Tel: (781) 659-1696
13
14   Attorneys for Plaintiff

15
                           IN THE UNITED STATES DISTRICT COURT
16
                         FOR THE WESTERN DISTRICT OF WASHINGTON
17                                     AT SEATTLE

18
     WILD FISH CONSERVANCY,
19                                                      Case No. 2:17-cv-01708
20          Plaintiff,
                                                        COMPLAINT
21   v.

22   COOKE AQUACULTURE PACIFIC, LLC,
23                  Defendant.
24
25
26
27
28
29
                                         KAMPMEIER & KNUTSEN PLLC           EARTHRISE LAW CENTER
     COMPLAINT - 1                                  P.O. Box 15099          10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                          Portland, Oregon 97293        Portland, Oregon 97219
                                                    (503) 841-6515                (503) 768-6825
                 Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 2 of 33



                                         I.     INTRODUCTION
 1
 2          1.       This action is a citizen suit brought under Section 505 of the Clean Water Act

 3   (“CWA”), 33 U.S.C. § 1365, by plaintiff Wild Fish Conservancy (the “Conservancy”) against
 4
     Defendant Cooke Aquaculture Pacific, LLC (“Cooke”) for repeated and ongoing violations of
 5
     Sections 301(a) and 402 of the CWA, 33 U.S.C. §§ 1311(a) and 1342, and the terms and
 6
 7   conditions of Cooke’s National Pollutant Discharge Elimination System (“NPDES”) permits

 8   authorizing discharges of pollutants from Cooke’s commercial Atlantic salmon farms located in
 9
     Puget Sound, Washington, into navigable waters.
10
            2.       The Conservancy seeks a declaratory judgment, injunctive relief, the imposition
11
12   of civil penalties, and the award of costs, including attorneys’ and expert witness fees.

13                                II.    JURISDICTION AND VENUE
14
            3.       The Court has subject matter jurisdiction over the Conservancy’s claims under
15
     section 505(a) of the CWA, 33 U.S.C. § 1365(a), and 28 U.S.C. § 1331 (federal question). Cooke
16
17   is in violation of an “effluent limitation or standard” as defined by Section 505(f) of the CWA,

18   33 U.S.C. § 1365(f). Sections 505(a), 505(d), and 309(d) of the CWA, 33 U.S.C. § 1365(a) and
19
     (d) and 1319(d), authorize the requested relief.
20
            4.       In accordance with section 505(b)(1)(A) of the CWA, 33 U.S.C. § 1365(b)(1)(A),
21
22   and 40 C.F.R. § 135.2, the Conservancy notified Cooke of its violations and of the

23   Conservancy’s intent to sue by letters dated and postmarked August 24, 2017 (“Notice Letter”),
24
     and September 6, 2017 (“Supplemental Notice Letter”). Copies of the Notice Letter and
25
     Supplemental Notice Letter are attached to this Complaint as Exhibit 1 and Exhibit 2,
26
27   respectively. The allegations in the Notice Letter and Supplemental Notice Letter are

28   incorporated herein by this reference. In accordance with section 505(b)(1)(A) of the CWA, 33
29
                                              KAMPMEIER & KNUTSEN PLLC           EARTHRISE LAW CENTER
     COMPLAINT - 2                                    P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293           Portland, Oregon 97219
                                                      (503) 841-6515                   (503) 768-6825
                 Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 3 of 33



     U.S.C. § 1365(b)(1)(A), and 40 C.F.R. § 135.2(a)(1), the Conservancy notified Cooke’s
 1
 2   Registered Agent, the Administrator of the United States Environmental Protection Agency

 3   (“EPA”), the Regional Administrator of Region 10 of the EPA, and the Director of the
 4
     Washington Department of Ecology (“Ecology”), of its intent to sue Cooke by mailing copies of
 5
     the Notice Letter and Supplemental Notice Letter to these officials on August 24, 2017, and
 6
 7   September 6, 2017, respectively.

 8          5.       At the time of the filing of this Complaint, more than sixty days have passed since
 9
     the Notice Letter and Supplemental Notice Letter and the copies thereof were issued as described
10
     in the preceding paragraph.
11
12          6.       No agency, including EPA and Ecology, has commenced any action constituting

13   diligent prosecution to redress these violations.
14
            7.       The violations complained of in the Notice Letter and the Supplemental Notice
15
     Letter are continuing or are reasonably likely to continue to reoccur. Cooke is in violation of the
16
17   CWA.

18          8.       The sources of the violations complained of are located within the Western
19
     District of Washington and venue is therefore appropriate in this district under section 505(c)(1)
20
     of the CWA, 33 U.S.C. § 1365(c)(1). Cooke operates eight commercial salmon farms within the
21
22   Western District of Washington that are the subject of this complaint; four are located in Skagit

23   County, one is located in Clallam County, and three are located in Kitsap County.
24
                                              III.      PARTIES
25
            9.       Plaintiff Wild Fish Conservancy is a membership-based 501(c)(3) nonprofit
26
27   organization incorporated in the State of Washington with its principal place of business in

28   Duvall, Washington. Wild Fish Conservancy is dedicated to the preservation and recovery of
29
                                             KAMPMEIER & KNUTSEN PLLC            EARTHRISE LAW CENTER
     COMPLAINT - 3                                       P.O. Box 15099          10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                               Portland, Oregon 97293        Portland, Oregon 97219
                                                         (503) 841-6515                (503) 768-6825
               Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 4 of 33



     Washington’s native fish species and the ecosystems upon which those species depend. Wild
 1
 2   Fish Conservancy brings this action on behalf of itself and its approximately 2,400 members.

 3   Wild Fish Conservancy changed its name from “Washington Trout” in 2007. As an
 4
     environmental watchdog, Wild Fish Conservancy actively informs the public on matters
 5
     affecting water quality, fish, and fish habitat in the State of Washington through publications,
 6
 7   commentary to the press, and sponsorship of educational programs. Wild Fish Conservancy also

 8   conducts field research on wild fish populations and has designed and implemented habitat
 9
     restoration projects. Wild Fish Conservancy lobbies, advocates, and publicly comments on
10
     federal and state actions that affect the region’s native fish and ecosystems. Wild Fish
11
12   Conservancy routinely seeks to compel government agencies to follow the laws designed to

13   protect native fish species, particularly threatened and endangered species.
14
            10.     The Conservancy has representational standing to bring this action. The
15
     Conservancy’s members regularly spend time in estuarine, nearshore, and marine areas
16
17   throughout Puget Sound, including in waters near Cooke’s net pen facilities. The Conservancy’s

18   members intend to continue to visit these areas on a regular basis, including in the coming
19
     months and beyond. These members observe, study, photograph, and appreciate wildlife and
20
     wildlife habitat in and around these waters and their tributaries. These members also fish, hike,
21
22   camp, and swim in and around these waters and their tributaries.

23          11.     The Conservancy’s members derive scientific, educational, recreational, health,
24
     conservation, spiritual, and aesthetic benefits from Puget Sound and its tributaries, the
25
     surrounding areas, and from wild native fish species in those waters and from the existence of
26
27   natural, wild and healthy ecosystems.

28
29
                                             KAMPMEIER & KNUTSEN PLLC            EARTHRISE LAW CENTER
     COMPLAINT - 4                                    P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293           Portland, Oregon 97219
                                                      (503) 841-6515                   (503) 768-6825
               Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 5 of 33



            12.     The past, present, and future enjoyment of the Conservancy’s interests and those
 1
 2   of its members, including their recreational, aesthetic, spiritual, and scientific interests, have

 3   been, are being, and will continue to be harmed by Cooke’s violations of the CWA and NPDES
 4
     permits addressed herein, including Cooke’s illegal discharges of pollutants from its Atlantic
 5
     salmon net pen facilities, and by the members’ reasonable concerns related to violations. These
 6
 7   injuries include reduced enjoyment of time spent in and around Puget Sound and its tributaries,

 8   including waters near the commercial salmon farms, and refraining from engaging in certain
 9
     activities while visiting these areas. These injuries are fairly traceable to the violations and
10
     redressable by the Court.
11
12          13.     The Conservancy has organizational standing to bring this action. The

13   Conservancy has been actively engaged in a variety of educational and advocacy efforts to
14
     improve habitat, including water quality, in Puget Sound and its tributaries. The Conservancy
15
     has been particularly active in efforts to educate the public and government officials throughout
16
17   the Puget Sound region on the impacts of commercial aquaculture, and specifically the impacts

18   of Cooke’s eight commercial salmon farms in Puget Sound. Cooke’s failure to comply with its
19
     NPDES permits’ Fish Release Prevention and Monitoring Plan requirements—including, but not
20
     limited to, failing to submit annual Fish Release Reports that include all of the required
21
22   information—has deprived the Conservancy of information that otherwise would be available

23   and used to the Conservancy in its educational and advocacy efforts. This information could
24
     assist the Conservancy in its ongoing efforts to educate and advocate for greater wild fish and
25
     environmental protection. Finally, the Conservancy and the public are deprived of information
26
27   that influences members of the public to become members of the Conservancy. Thus, the

28
29
                                              KAMPMEIER & KNUTSEN PLLC             EARTHRISE LAW CENTER
     COMPLAINT - 5                                     P.O. Box 15099              10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                             Portland, Oregon 97293            Portland, Oregon 97219
                                                       (503) 841-6515                    (503) 768-6825
               Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 6 of 33



     Conservancy’s organizational interests have been and are being adversely affected by Cooke’s
 1
 2   violations. These injuries are fairly traceable to the violations and redressable by the Court.

 3          14.     Cooke Aquaculture Pacific, LLC acquired, or changed its name from, Icicle
 4
     Acquisition Subsidiary LLC d/b/a American Gold Seafoods on or about June 11, 2016. Cooke is
 5
     a corporation authorized to conduct business under the laws of the State of Washington.
 6
 7          15.     Cooke owns and operates eight commercial Atlantic salmon net pen facilities in

 8   Puget Sound.
 9
                                     IV.     LEGAL BACKGROUND
10
            16.     Section 301(a) of the CWA, 33 U.S.C. § 1311(a), makes unlawful the discharge
11
12   of any pollutant by any person unless authorized by, inter alia, a NPDES permit issued pursuant

13   to section 402 of the CWA, 33 U.S.C. § 1342.
14
            17.     Section 502(12) of the CWA, 33 U.S.C. § 1362(12), defines “discharge of a
15
     pollutant” to include “any addition of any pollutant to navigable waters from any point source.”
16
17          18.     Section 502(7) of the CWA, 33 U.S.C. § 1362(7), defines the term “navigable

18   waters” as “the waters of the United States, including the territorial seas.”
19
            19.     Section 502(14) of the CWA, 33 U.S.C. § 1362(14), defines “point source” as
20
     “any discernible, confined and discrete conveyance, including but not limited to any pipe, ditch,
21
22   channel, tunnel, conduit, well, discrete fissure, container, rolling stock, concentrated animal

23   feeding operation, or vessel or other floating craft, from which pollutants are or may be
24
     discharged.”
25
            20.     EPA has issued a regulation that defines the term “point source” to include
26
27   “concentrated aquatic animal production facilities,” which EPA defines to include marine

28   salmon net pens that discharge at least 30 days per year, produce more than 20,000 pounds of
29
                                             KAMPMEIER & KNUTSEN PLLC                EARTHRISE LAW CENTER
     COMPLAINT - 6                                    P.O. Box 15099                 10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293               Portland, Oregon 97219
                                                      (503) 841-6515                       (503) 768-6825
               Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 7 of 33



     salmon per year, or feed more than 5,000 pounds of food in the month of maximum feeding. 40
 1
 2   C.F.R. § 122.24 and 40 C.F.R. § 122 Appendix C.

 3          21.     Section 402 of the CWA provides that the EPA may issue NPDES permits
 4
     authorizing discharges. 33 U.S.C. § 1342. The CWA implements a technology-forcing approach
 5
     under which increasingly stringent NPDES permit requirements are imposed over time in an
 6
 7   effort to fulfill the CWA’s goal of eliminating pollution. NPDES permits therefore are valid for a

 8   period not to exceed five years, after which new permits are required that incorporate any new
 9
     and more stringent standards. See 33 U.S.C. §§ 1342(a)(3), (b)(1)(B).
10
            22.     Expiring NPDES permits continue and remain effective and enforceable if the
11
12   permittee timely submits a complete application for a new permit and EPA, through no fault of

13   the permittee, does not issue a new permit prior to expiration. 40 C.F.R. § 122.6; 5 U.S.C. §
14
     558(c). Applications to renew an expiring NPDES permit are timely if submitted at least 180
15
     days before the expiration date. 40 C.F.R. § 122.21(d)(2).
16
17          23.     The State of Washington has established a federally approved state NPDES

18   program administered by Ecology. Wash. Rev. Code § 90.48.260; Wash. Admin. Code ch. 173-
19
     220. This program was approved by the Administrator of EPA under Section 402(b) of the
20
     CWA, 33 U.S.C. § 1342(b).
21
22                                 V.      FACTUAL BACKGROUND

23          24.     Puget Sound and its tributaries contain natural, wild populations of fish, including
24
     various species of rockfish, steelhead trout, bull trout, searun cutthroat trout, coho salmon,
25
     sockeye salmon, pink salmon, chum salmon, Chinook salmon, and other fish species, and
26
27   provide important habitat for these species.

28
29
                                             KAMPMEIER & KNUTSEN PLLC             EARTHRISE LAW CENTER
     COMPLAINT - 7                                      P.O. Box 15099           10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                              Portland, Oregon 97293         Portland, Oregon 97219
                                                        (503) 841-6515                 (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 8 of 33



            25.     Cooke owns and/or operates eight of the commercial salmon net pen facilities
 1
 2   located in Puget Sound, Washington, where Cooke produces Atlantic salmon. Three of the net

 3   pen facilities are located in Cypress Island’s Deepwater Bay, in Skagit County. One net pet
 4
     facility is located in Skagit Bay north of Hope Island, also within Skagit County. Three of the net
 5
     pen facilities are located south of Bainbridge Island in Rich Passage, within Kitsap County. One
 6
 7   net pen facility is located near Port Angeles, in Clallam County.

 8          26.     Commercial salmon farms house fish in net pens, which are floating facilities that
 9
     contain young and mature salmon in permeable enclosures, such as netting, in open water. The
10
     fish are hatched at freshwater hatcheries and the smolts are transferred to the marine net pens
11
12   where they are cultivated to a marketable size. Due to characteristics conducive to commercial

13   success, Atlantic salmon are the primary species raised.
14
            27.     Each of Cooke’s eight commercial salmon farms in Puget Sound qualifies as a
15
     concentrated aquatic animal production facility and is considered a “point source” of pollution
16
17   under 40 C.F.R. § 122.24 and 40 C.F.R. § 122 Appendix C. Specifically, each facility discharges

18   pollutants in excess of 30 days per year and produces more than 20,000 pounds of salmon per
19
     year or feeds more than 5,000 pounds of food in the month of maximum feeding.
20
            28.     Cooke is authorized to discharge waste materials associated with its Atlantic
21
22   salmon net pen operations under eight NPDES permits issued by Ecology on October 26, 2007,

23   which expired but have been administratively continued since October 26, 2012, under NPDES
24
     permit numbers WA-003153-4, WA-003154-2, WA-003152-6, WA-003156-9, WA-003157-7,
25
     WA-003158-5, WA-003159-3, and WA-004089-4 (collectively, the “Permits”).
26
27
28
29
                                            KAMPMEIER & KNUTSEN PLLC            EARTHRISE LAW CENTER
     COMPLAINT - 8                                   P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                           Portland, Oregon 97293           Portland, Oregon 97219
                                                     (503) 841-6515                   (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 9 of 33



            29.     The Permits impose terms and conditions intended to protect water quality,
 1
 2   including restrictions on discharges, pollution prevention requirements, fish release prevention

 3   and monitoring requirements, and recordkeeping and reporting requirements.
 4
            30.     One of Cooke’s net pen facilities located in Deepwater Bay of Cypress Island is
 5
     referred to as “Cypress Site 2” (also known as “Site 2 – Deepwater Bay”) and is subject to
 6
 7   NPDES permit number WA-003157-7. The Cypress Site 2 facility is a floating steel raft,

 8   containing ten individual cages (2 rows of 5 cages), and has been in operation since 1985. The
 9
     net pen structure has a surface area of approximately 80,154 square feet.
10
            31.     In 2009 and/or 2011, Cooke repositioned its Cypress Site 2 facility into deeper
11
12   waters with higher current velocities in an effort to increase water circulation and sediment

13   flushing due to benthic impacts from the facility that exceeded limits in the Permits, without
14
     making any changes to facility’s operational or physical structures.
15
            32.     On or about July 24, 2017, moorings at Cypress Site 2 began to fail. At least ten
16
17   anchor points on the net pens broke and numerous others dragged, which shifted the positioning

18   of the site considerably. While Cooke made some effort to re-secure Cypress Site 2, the moorage
19
     anchors that had been replaced broke free again on July 25, 2017. Cooke again worked to reset
20
     and replace the mooring system from July 25 through July 29, 2017.
21
22          33.     Starting on or about Saturday, August 19, 2017, Cypress Site 2 suffered

23   additional mooring and other structural failures, resulting is a near-complete collapse on or about
24
     Sunday, August 20, 2017. The images below show Cypress Site 2 before and after this incident.
25
26
27
28
29
                                            KAMPMEIER & KNUTSEN PLLC             EARTHRISE LAW CENTER
     COMPLAINT - 9                                   P.O. Box 15099              10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                           Portland, Oregon 97293            Portland, Oregon 97219
                                                     (503) 841-6515                    (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 10 of 33




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
             34.    The Cypress Site 2 facility’s failure was the result of Cooke’s negligence and its
15
     failure to inspect and maintain the facility as required under the Permits.
16
17           35.    Upon information and belief, Cooke was aware at least six months before the

18   Cypress Site 2 facility collapsed that the facility was nearing the end of its serviceable life and
19
     was due for complete replacement, that corrosion on the metal walkway grating and
20
     substructures was accelerating, and that the metal hinge joints were showing signs of excessive
21
22   wear.

23           36.    Cooke was also aware that the Cypress Site 2 facility was misaligned to the
24
     prevailing tidal currents, and that repositioning the net pens with the narrow ends facing the
25
     prevailing currents at the site was necessary to reduce the drag loads exerted on the nets,
26
27   mooring points, net pen structure, and to improve the overall safety of the facility.

28
29
                                              KAMPMEIER & KNUTSEN PLLC             EARTHRISE LAW CENTER
     COMPLAINT - 10                                   P.O. Box 15099               10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293             Portland, Oregon 97219
                                                      (503) 841-6515                     (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 11 of 33



            37.     Non-native Atlantic salmon released from net pen facilities are pollutants under
 1
 2   the CWA.

 3          38.     The failure of Cooke’s Cypress Site 2 facility resulted in massive discharges of
 4
     various pollutants into Puget Sound, including but not limited to, non-native Atlantic salmon,
 5
     debris, solid and liquid wastes, nets, feed, machinery, equipment, walkways, moorings and other
 6
 7   structures, fuels, greases, oils, and other petroleum products. These discharges are not authorized

 8   by Cooke’s Permits. See Permits, Condition S1 (Cooke is authorized to “discharge waste
 9
     materials associated with marine salmon net pen operations.”). The discharges are therefore
10
     prohibited by Section 301(a) of the CWA, 33 U.S.C. § 1311(a).
11
12          39.     Cooke’s Permits prohibit the intentional or negligent release of Atlantic salmon

13   from the net pen facilities. Permits, Condition S1. Cooke began releasing fish from its Cypress
14
     Site 2 facility on or about August 19, 2017. These releases are intentional or negligent and
15
     therefore violate Condition S1 of the Permits. Currently available information indicates that
16
17   Cooke released at least approximately 165,000 and up to 305,000 Atlantic salmon into Puget

18   Sound, many of which remain in Puget Sound today and each of which constitutes a violation of
19
     the Permits.
20
            40.     Ecology issued Agreed Order, Docket No. 15422, dated September 15, 2017.
21
22   Cooke consented to the Agreed Order and agreed not to contest it. The Agreed Order includes a

23   finding by Ecology that Cooke’s release of Atlantic salmon from the Cypress Site 2 that began
24
     on or about August 19, 2017, is a violation of the Permit.
25
            41.     The Permits require that Cooke “collect and store fish carcasses in leakproof
26
27   containers” and prohibit Cooke from disposing of carcasses in surface waters. Permits, Condition

28   S5.A.7. Further, Cooke “must store and dispose of fish mortalities, harvest blood, and leachate
29
                                            KAMPMEIER & KNUTSEN PLLC            EARTHRISE LAW CENTER
     COMPLAINT - 11                                  P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                           Portland, Oregon 97293           Portland, Oregon 97219
                                                     (503) 841-6515                   (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 12 of 33



     from these materials in a manner which prevents such materials from entering waters of the
 1
 2   state.” Permits, Condition S5.A.8. Cooke has violated these requirements with respect to the

 3   Cypress Site 2 facility because Cooke has failed to collect and store all fish carcasses in
 4
     leakproof containers and failed to store and dispose of fish mortalities and blood in a manner that
 5
     prevents such materials from entering waters of the state.
 6
 7          42.     The Permits provide that Cooke “must dispose of accumulated solids and attached

 8   marine growth contained within or on the net pens in a manner which prevents to the maximum
 9
     extent practicable these materials from entering or reentering waters of the state.” Permits,
10
     Condition S5.A.9. Cooke is further prohibited from discharging “accumulated solids and marine
11
12   growth removed from the finfish rearing units into waters of the state without prior treatment.”

13   Permits, Condition S5.A.10. Cooke is violating these requirements by failing to dispose of solids
14
     and growth in a manner that prevents to the maximum extent practicable the materials from
15
     entering or reentering waters of the state and by discharging solids and growth without prior
16
17   treatment from its net pen facilities located in Deepwater Bay of Cypress Island.

18          43.     The Permits prohibit Cooke from “discharging sanitary wastes, floating solids,
19
     visible foam other than in trace amounts, or oily wastes which produce sheen on the surface of
20
     the receiving water.” Permits, Condition S5.A.12. Cooke is in violation of these requirements for
21
22   discharging prohibited materials from its Cypress Site 2 facility.

23          44.     Upon information and belief, Cooke is violating the Permits’ predator net pen
24
     requirements at its net pen facilities in Deepwater Bay of Cypress Island by failing to maintain
25
     predator nets above the sea floor; storing nets on the sea floor; failing to immediately tag with
26
27   floats nets dropped or lost, position the nets using differential GPS, and report the dropped or

28   lost nets to Ecology with 24 hours.
29
                                             KAMPMEIER & KNUTSEN PLLC            EARTHRISE LAW CENTER
     COMPLAINT - 12                                   P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293           Portland, Oregon 97219
                                                      (503) 841-6515                   (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 13 of 33



             45.    Condition S6 of the Permits requires that Cooke prepare a Pollution Prevention
 1
 2   Plan for each net pen facility that addresses “operations, spill prevention, spill response, solid

 3   waste, and stormwater discharge practices which will prevent or minimize the release of
 4
     pollutants from the facility to waters of the state.” Cooke is required to “assure that the
 5
     operations staff for the facility is familiar with the plan and have been adequately trained in the
 6
 7   specific procedures which it required.” Permits, Condition S6. Cooke “must operate the facility

 8   in accordance with this plan along with any subsequent amendments or revisions.” Id.
 9
             46.    For each facility, the Pollution Prevention Plan must require Cooke to “routinely,
10
     at least weekly, conduct visual inspections of exposed surface lines, shackles, and mooring
11
12   points;” repair or replace defective components promptly; conduct an inspection of the main

13   cage structure and anchoring components above and below the water line at least once per year;
14
     “[d]ocument any problems and maintain all components to prevent failure that could lead to fish
15
     escapements;” and “conduct inspections after any major storm event or physical accident
16
17   involving the pen structures or moorings, and make any repairs necessary.” Permits, Condition

18   S6.F.
19
             47.    Cooke has violated and continued to violate the requirements of Condition S6 of
20
     the Permits at each of its eight commercial salmon farms in Puget Sound. Cooke has failed and
21
22   continues to fail to prepare and/or implement a Pollution Prevention Plan that meets all of the

23   requirements of Condition S6 of the Permits for each of its net pen facilities. Additionally,
24
     Cooke has failed and continues to fail to conduct required inspections, repairs and replacements,
25
     failed to document problems, and failed to maintain components to prevent failures that could
26
27   lead to fish escapements. For example, Cooke’s latest 2017 Pollution Prevention Plan does not

28   require Cooke to conduct inspection of exposed surface lines, shackles, and mooring points at
29
                                             KAMPMEIER & KNUTSEN PLLC             EARTHRISE LAW CENTER
     COMPLAINT - 13                                   P.O. Box 15099              10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293            Portland, Oregon 97219
                                                      (503) 841-6515                    (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 14 of 33



     least weekly. It also does not require Cooke to inspect anchoring components above and below
 1
 2   the waterline at least annually, nor does it require any inspection of the main cage structures.

 3   Cooke’s prior 2012 Pollution Prevention Plan contains the same or substantially similar
 4
     deficiencies.
 5
            48.      Failure to develop and implement an adequate Pollution Prevention Plan is a
 6
 7   violation of Cooke’s Permits. Every day that Cooke fails to develop and/or implement a

 8   Pollution Prevention Plan for a facility is a separate and distinct violation of the Permits. These
 9
     violations have occurred on each and every day during the last five years and sixty days and
10
     continue to occur every day.
11
12          49.      The Permits require Cooke to maintain a Fish Release Prevention and Monitoring

13   Plan that includes the identification and implementation of technology that will minimize fish
14
     escapements and procedures for routinely tracking the number of fish within the pens, the
15
     number of fish lost to predation and mortality, and the number lost due to escapement. Permits,
16
17   Condition S7.1, 6. This plan also must include routine procedures and best management

18   practices used to minimize the risk of escapement from the pens during normal operations.
19
     Condition S7.2.
20
            50.      Cooke must submit an Annual Fish Release Report to Ecology by January 30th of
21
22   each year that summarizes release data for the prior year. Permits, Condition S7. The reports

23   must summarize, to the extent possible, “by month and pen site, the number, age class, disease
24
     and medication history, and cause of all fish released to waters of the state, … including all
25
     Significant Fish Releases.” Id.
26
27          51.      Cooke has violated and continues to violate the requirements of Condition S7 of

28   the Permits at all eight of its Puget Sound net pen facilities. For example, Cooke fails to identify
29
                                             KAMPMEIER & KNUTSEN PLLC             EARTHRISE LAW CENTER
     COMPLAINT - 14                                   P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293           Portland, Oregon 97219
                                                      (503) 841-6515                   (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 15 of 33



     and implement technology that will minimize fish escapements, fails to implement procedures to
 1
 2   track the number of fish in the net pen and those lost to predation, mortality and escapement, and

 3   fails to submit annual Fish Release Reports that include all of the required information, including
 4
     all of the fish released and the cause thereof.
 5
            52.     Failure to develop and implement an adequate Fish Release Prevention and
 6
 7   Monitoring Plan is a violation of Cooke’s Permits. Every day that Cooke fails to develop and/or

 8   implement an adequate Fish Release Prevention and Monitoring Plan at a net pen facility is a
 9
     separate and distinct violation of the Permits. These violations have occurred on each and every
10
     day during the last five years and sixty days and continue to occur every day.
11
12          53.     The Permits establish a Sediment Impact Zone (“SIZ”) for each net pen facility

13   that consists of the area within a 100-foot perimeter of each net pen facility. Permits, Appendix
14
     A. When net pens are “moved or removed,” the Permits require that Cooke “conduct Closure
15
     Monitoring in areas where the previous SIZ was established but is no longer in effect.” Permits,
16
17   Condition S2.B.4. “The goal of closure monitoring is to monitor the return of sediment quality to

18   baseline conditions.” Permits, Condition S4. Closure monitoring must include the parameters
19
     listed in Condition S2.A.4 of the Permits and include benthic infaunal abundance as described in
20
     Condition S2.D. Permits, Condition S4.
21
22          54.     The Permits also require that Cooke submit a Sediment Sampling and Analysis

23   Plan (“SAP”) to Ecology for review and approval “at least thirty (30) days1 prior to [the]
24
     anticipated site closure or significant move.” Permits, Condition S2.B.4.
25
26
27
28   1
      The Permits also require, inconsistently, that Cooke submit a SAP “at least 60 days” before any
29   planned move or removal. Permits, Condition S4.
                                              KAMPMEIER & KNUTSEN PLLC           EARTHRISE LAW CENTER
     COMPLAINT - 15                                    P.O. Box 15099            10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                             Portland, Oregon 97293          Portland, Oregon 97219
                                                       (503) 841-6515                  (503) 768-6825
                 Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 16 of 33



             55.     Cooke has violated the Permits’ sediment sampling and analysis plan
 1
 2   requirements by moving, closing, and/or removing its Cypress Site 2 facility from its SIZ

 3   without complying with the provisions described above—including the requirements to submit a
 4
     SAP to Ecology for approval at least 30 days prior to moving or removing/closing the facility.
 5
     Every day that Cooke fails to submit a SAP is a separate and distinct violation of the Permits and
 6
 7   the CWA. These violations began on or about August 19, 2017, have occurred on each and every

 8   day since that date, and continue to occur every day.
 9
             56.     Upon information and belief, the violations of the CWA and the NPDES Permits
10
     addressed herein are ongoing and/or are reasonably likely to reoccur. Any and all additional
11
12   violations of the CWA or Permits that occur after those described in the Notice Letter and

13   Supplemental Notice Letter but before a final decision in this action should be considered
14
     continuing violations subject to this Complaint.
15
             57.     Cooke’s commercial salmon farms have suffered sporadic and significant fish
16
17   releases in the past, including a reported escape of approximately 24,550 Atlantic salmon in

18   2005, and similar events are reasonably likely to reoccur.
19
             58.     Upon information and belief, Cooke is likely to negligently release Atlantic
20
     salmon from any of its eight net pen facilities in Puget Sound in the future. The Conservancy is
21
22   unaware of any change in Cooke’s Puget Sound net pen operations that will eliminate future

23   negligent releases of Atlantic salmon.
24
             59.     Upon information and belief, Cooke has and will continue to operate and maintain
25
     each of its Puget Sound net pen facilities in the same manner as it did with its Cypress Site 2
26
27   facility.

28
29
                                              KAMPMEIER & KNUTSEN PLLC           EARTHRISE LAW CENTER
     COMPLAINT - 16                                  P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                           Portland, Oregon 97293           Portland, Oregon 97219
                                                     (503) 841-6515                   (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 17 of 33



            60.     The State of Washington Department of Natural Resources (“DNR”) recently
 1
 2   inspected Cooke’s Rich Passage Clam Bay facility, after the collapse of Cypress Site 2, and

 3   reported widespread moderate corrosion damage and severe corrosion damage in localized areas.
 4
     DNR also reported that one of the facilities drag anchors was completely on the surface on the
 5
     sea floor, not buried, and that Cooke’s inspections of the facility did not follow the
 6
 7   manufacturer’s recommendations or industry standards.

 8          61.     Without the imposition of appropriate civil penalties and the issuance of an
 9
     injunction, Cooke is likely to continue to violate its Permits and the CWA to the further injury of
10
     the Conservancy, its members, and others.
11
12          62.     Cooke’s violations of the CWA and its Permits were avoidable had Cooke been

13   diligent in overseeing operations and maintenance at its commercial salmon farms.
14
            63.     Cooke has benefited economically as a consequence of its violations of the CWA
15
     and Permits, including through its failure maintain, repair, and replace its net pens and their
16
17   components.

18          64.     In accordance with Sections 505(c)(3) of the CWA, 33 U.S.C. § 1365(c)(3), and
19
     40 C.F.R. § 135.4, the Conservancy will mail either a filed, date-stamped copy of this Complaint
20
     or a conformed copy of this Complaint after it is filed to the Administrator of the EPA, the
21
22   Regional Administrator for Region 10 of EPA, and the Attorney General of the United States.

23                                    VI.     CLAIMS FOR RELIEF
24
                                       FIRST CLAIM FOR RELIEF
25
                             Cooke’s Violations of Section 301(a) of the CWA
26
27          65.     The Conservancy hereby alleges and incorporates by reference all of the

28   preceding paragraphs.
29
                                             KAMPMEIER & KNUTSEN PLLC             EARTHRISE LAW CENTER
     COMPLAINT - 17                                   P.O. Box 15099             10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                            Portland, Oregon 97293           Portland, Oregon 97219
                                                      (503) 841-6515                   (503) 768-6825
                Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 18 of 33



            66.       The failure of Cooke’s Cypress Site 2 facility that began on or about August 19,
 1
 2   2017, resulted in massive discharges of various pollutants into Puget Sound. These discharges

 3   are not authorized by Cooke’s Permits. These discharges constitute discharges of pollutants from
 4
     a point source to waters of the United States that violate Section 301(a) of the CWA, 33 U.S.C. §
 5
     1311(a).
 6
 7          67.       These violations of Section 301(a) of the CWA, 33 U.S.C. § 1311(a), are

 8   violations of an “effluent limitation or standard,” as defined by Section 505(f) of the CWA, 33
 9
     U.S.C. § 1365(f), that are enforceable in this citizen suit under section 505 of the CWA, 33
10
     U.S.C. § 1365.
11
12                                     SECOND CLAIM FOR RELIEF

13                                     Cooke’s Violations of the Permits
14
            68.       The Conservancy hereby alleges and incorporates by reference all of the
15
     preceding paragraphs.
16
17          69.       Cooke has violated its Permits as described herein and in the Notice Letter and

18   Supplemental Notice Letter.
19
            70.       Cooke’s violations of its Permits constitute violations of an “effluent limitation or
20
     standard,” as defined by Section 505(f) of the CWA, 33 U.S.C. § 1365(f), that are enforceable in
21
22   this citizen suit under section 505 of the CWA, 33 U.S.C. § 1365.

23                                     VII.    RELIEF REQUESTED
24
            WHEREFORE, the Conservancy respectfully requests that this Court:
25
            A.        Issue a declaratory judgment that Cooke has violated and continues to be in
26
27   violation of the Permits and Sections 301 and 402 of the Clean Water Act, 33 U.S.C. §§ 1311

28   and 1342;
29
                                               KAMPMEIER & KNUTSEN PLLC            EARTHRISE LAW CENTER
     COMPLAINT - 18                                    P.O. Box 15099              10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                             Portland, Oregon 97293            Portland, Oregon 97219
                                                       (503) 841-6515                    (503) 768-6825
              Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 19 of 33



            B.      Issue an injunction enjoining Cooke from operating its Atlantic salmon net pen
 1
 2   facilities in a manner that results in further violations of the Permits or the CWA;

 3          C.      Issue an injunction requiring Cooke to take specific actions to evaluate and
 4
     remediate the environmental harm caused by its violations;
 5
            D.      Grant such other preliminary and/or permanent injunctive relief as the
 6
 7   Conservancy may from time to time request during the pendency of this case;

 8          E.      Order Cooke to pay appropriate civil penalties up to the maximum authorized by
 9
     the CWA of $37,500.00 per day of violation for each violation committed by Cooke on or before
10
     November 2, 2015, and $52,414.00 per day of violation for each violation committed by Cooke
11
12   thereafter, pursuant to sections 309(d) and 505(d) of the CWA, 33 U.S.C. §§ 1319(d) and

13   1365(a), and 40 C.F.R. § 19 (see also 81 Fed. Reg. 43091, 43095 (July 1, 2016));
14
            F.      Award the Conservancy its litigation expenses, including reasonable attorneys’
15
     fees and expert witness fees, as authorized by section 505(d) of the CWA, 33 U.S.C. § 1365(d),
16
17   and any other applicable authorization; and

18          G.      Grant the Conservancy such additional relief as the Court deems just and proper.
19
            RESPECTFULLY SUBMITTED this 13th day of November, 2017.
20
                            KAMPMEIER & KNUTSEN, PLLC
21
22                          By: s/ Brian A. Knutsen
                                 Brian Knutsen, WSBA No. 38806
23                          U.S. Postal Service Address:
24                          P.O. Box 15099; Portland, Oregon 97293
                            Location (No U.S. Postal Service Delivery; couriers okay):
25                          221 S.E. 11th Ave., Ste. 217; Portland, Oregon 97214
                            Tel: (503) 841-6515
26                          Email: brian@kampmeierknutsen.com
27
28
29
                                             KAMPMEIER & KNUTSEN PLLC            EARTHRISE LAW CENTER
     COMPLAINT - 19                                    P.O. Box 15099            10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                             Portland, Oregon 97293          Portland, Oregon 97219
                                                       (503) 841-6515                  (503) 768-6825
            Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 20 of 33



                         By: s/ Paul A. Kampmeier
 1
                              Paul A. Kampmeier, WSBA No. 31560
 2                       615 Second Ave., Suite 360
                         Seattle Washington 98104
 3                       Tel: (206) 223-4088 x 4
 4                       Email: paul@kampmeierknutsen.com

 5
                         EARTHRISE LAW CENTER
 6
 7                       By: s/ Doug DeRoy__________________
                              Doug DeRoy (OSB #170934),
 8                                  Pro hac vice application forthcoming
 9                       By: s/ Kevin Cassidy_________________
                              Kevin Cassidy (OSB #025296),
10                                  Pro hac vice application forthcoming
                         Lewis & Clark Law School
11
                         10015 S.W. Terwilliger Blvd.
12                       Portland, Oregon 97219
                         Tel, Email: (503) 768-6825, dougderoy@lclark.edu
13                       Tel, Email: (781) 659-1696, cassidy@lclark.edu
14
15                       Attorneys for Plaintiff Wild Fish Conservancy
16
17
18
19
20
21
22
23
24
25
26
27
28
29
                                         KAMPMEIER & KNUTSEN PLLC           EARTHRISE LAW CENTER
     COMPLAINT - 20                              P.O. Box 15099          10015 SW Terwilliger Blvd.
     No. 2:17-cv-01708                       Portland, Oregon 97293        Portland, Oregon 97219
                                                 (503) 841-6515                (503) 768-6825
Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 21 of 33




           EXHIBIT 1
         Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 22 of 33

            KAMPMEIER & KNUTSEN P L L C
                                   ATTORNEYS AT LAW


BRIAN A. KNUTSEN
Licensed in Oregon & Washington
503.841.6515
brian@kampmeierknutsen.com

                                           August 24, 2017

Certified U.S. Mail – Return Receipt Requested
Managing Agent
Cooke Aquaculture Pacific, LLC
P.O. Box 669
Anacortes, Washington 98221

Re:    NOTICE OF INTENT TO SUE UNDER THE CLEAN WATER ACT

Dear Managing Agent:

        This letter is submitted on behalf of the Wild Fish Conservancy (the “Conservancy”).
This letter provides sixty days’ notice of the Conservancy’s intent to file a citizen suit against
Cooke Aquaculture Pacific, LLC (“Cooke1”) under section 505 of the Clean Water Act
(“CWA”), 33 U.S.C. § 1365, for the violations described herein.

I.     Background.

       Cooke owns and/or operates eight commercial salmon net pen facilities located in Puget
Sound, Washington, where Cooke produces Atlantic salmon. Three of these net pen facilities are
located in Deepwater Bay of Cypress Island, three are located south of Bainbridge Island in Rich
Passage, one is near Port Angeles, and one is north of Hope Island in Skagit Bay.

        Cooke’s commercial salmon farms discharge pollutants to waters of the United States in
a manner that is prohibited by section 301(a) of the CWA, 33 U.S.C. § 1311(a), unless, inter
alia, authorized by National Pollutant Discharge Elimination System (“NPDES”) permits issued
under section 402 of the CWA, 33 U.S.C. § 1342. Cooke is authorized to discharge waste
materials associated with salmon net pen operations under eight NPDES permits issued by the
Washington Department of Ecology (“Ecology”) on October 26, 2007, with expiration dates of
October 26, 2012, but which have been administratively extended pending issuance of new
permits, under NPDES permit numbers WA-003153-4, WA-003154-2, WA-003152-6, WA-
003156-9, WA-003157-7, WA-003158-5, WA-003159-3, and WA-004089-4 (collectively, the
“Permits”).


1
 Cooke Aquaculture Pacific LLC acquired, or changed its name from, Icicle Acquisition Subsidiary LLC
d/b/a American Gold Seafoods on or about June 11, 2016. “Cooke,” as used herein, refers collectively to
Cooke Aquaculture Pacific LLC and Icicle Acquisition Subsidiary LLC d/b/a American Gold Seafoods.
         Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 23 of 33



        Starting on or about Saturday, August 19, 2017, one of Cooke’s net pen facilities located
in Deepwater Bay of Cypress Island began suffering structural failures. This net pen facility
suffered a near-complete structural failure and collapsed on or about Sunday, August 20, 2017.
The failure of these facilities has resulted in illegal discharges into Puget Sound of farmed
Atlantic salmon, carcasses of dead fish, and massive amounts of debris and other pollutants.
Currently available information suggests that these illegal releases are associated with Cooke’s
net pen facility known as “Cypress Site 2” (also known as “Site 2 – Deepwater Bay”), which is
subject to NPDES permit number WA-003157-7.

II.    Cooke’s Unauthorized Discharges of Pollutants.

        The structural failure of Cooke’s net pen facilities in Deepwater Bay of Cypress Island
has resulted in massive discharges of various pollutants to Puget Sound, including, without
limitation, non-native Atlantic salmon, debris, solid and liquid wastes, nets, feed, medications,
pharmaceuticals, machinery, equipment, walkways, moorings, structures, ropes, cables, buoys,
fuels, greases, oils, and other petroleum products. These discharges are not authorized by
Cooke’s Permits. See Permits, Condition S1 (Cooke is authorized to “discharge waste materials
associated with marine salmon net pen operations.”). Accordingly, Cooke is in violation of
section 301(a) of the CWA, 33 U.S.C. § 1311(a), for discharging pollutants to Puget Sound
without the authorization of an NPDES permit. These violations began on or about August 19,
2017, have occurred every day since that date, and are continuing to occur.

III.   Cooke’s Violations of the Permits.

       A.      Violations of the Prohibition on Negligent Releases of Atlantic Salmon.

       The Permits provide:

       The intentional or negligent release of Atlantic salmon to the receiving waters
       beyond the confines of the net pens is prohibited.

Permits, p. 5. Cooke is in violation of this provision by negligently (and/or intentionally)
releasing Atlantic salmon from one or more of its commercial salmon net pen facilities in
Puget Sound. Cooke began releasing the fish from its net pen facilities located in
Deepwater Bay of Cypress Island on or about August 19, 2017. These illegal releases
have occurred each and every day since August 19, 2017, and are continuing to occur.
Currently available information indicates that Cooke has released up to 305,000 Atlantic
salmon into Puget Sound, each of which constitutes a violation of the Permits.

       B.      Violations Related to the Disposal and Storage of Fish Mortalities.

        The Permits require that Cooke “collect and store fish carcasses in leakproof containers”
and it prohibits Cooke from disposing of carcasses in surface waters. Permits, Condition S5.A.7.
Further, Cooke “must store and dispose of fish mortalities, harvest blood, and leachate from
these materials in a manner which prevents such materials from entering waters of the state.”
Permits, Condition S5.A.8. Cooke has violated these requirements with respect to the net pen

                                                 2
         Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 24 of 33



facilities located in Deepwater Bay of Cypress Island because Cooke has failed to collect and
store all fish carcasses in leakproof containers and failed to store and dispose of fish mortalities
and blood in a manner that prevents such materials from entering waters of the state. These
violations began on or about August 19, 2017, have continued every day since that date, and are
continuing to occur.

       C.      Violations of the Prohibition on Discharging Solids and Marine Growth.

        The Permits provide that Cooke “must dispose of accumulated solids and attached marine
growth contained within or on the net pens in a manner which prevents to the maximum extent
practicable these materials from entering or reentering waters of the state.” Permits, Condition
S5.A.9. Cooke is further prohibited from discharging “accumulated solids and marine growth
removed from the finfish rearing units into waters of the state without prior treatment.” Permits,
Condition S5.A.10. Cooke is violating these requirements by failing to dispose of solids and
growth in a manner that prevents to the maximum extent practicable the materials from entering
or reentering waters of the state and by discharging solids and growth without prior treatment
from its net pen facilities located in Deepwater Bay of Cypress Island. These violations began on
or about August 19, 2017, have continued every day since that date, and are continuing to occur.

       D.      Violations of the Prohibition on Discharging Floating Solids, Visible Foam,
               and/or Oily Wastes.

        The Permits prohibit Cooke from “discharging sanitary wastes, floating solids, visible
foam other than in trace amounts, or oily wastes which produce sheen on the surface of the
receiving water.” Permits, Condition S5.A.12. Cooke is in violation of these requirements for
discharging prohibited materials from its net pen facilities located in Deepwater Bay of Cypress
Island. These illegal discharges began on or about August 19, 2017, have occurred each and
every day since that date, and are continuing to occur.

       E.      Violations of the Predator Net Requirements.

       The Permits provide:

       When in use, predator nets shall be maintained above the sea floor at all times.
       Nets may not impede the current flow or tidal exchange so as to contribute to the
       deposition of solids that would impair water quality standards. The storage of
       predator control or containment nets on the sea floor is prohibited. Any net
       accidentally dropped or lost during a storm event that is not recovered
       immediately shall be tagged with a float, positioned using differential GPS, and
       reported to Ecology within 24 hours. The net shall be recovered within 30 days
       from the date lost, unless Ecology allows a longer time in an individual case.
       Ecology shall be notified on the date the net is recovered.

Permits, Condition S5.A.17. Upon information and belief, Cooke is violating these
requirements at its net pen facilities in Deepwater Bay of Cypress Island by failing to
maintain predator nets above the sea floor; impeding current flow with its nets in a

                                                  3
         Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 25 of 33



manner that contributes to impairment of water quality standards; storing nets on the sea
floor; failing to immediately tag with floats nets dropped or lost, position the nets using
differential GPS, and report the dropped or lost nets to Ecology with 24 hours. These
violations began on or about August 19, 2017, have occurred each and every day since
that date, and are continuing to occur. To the extent Cooke does not recover all of the
dropped or lost nets within 30 days of the date lost, Cooke will also be in violation of that
requirement.

        F.      Violations of the Pollution Prevention Plan Requirements.

        The Permits require that Cooke prepare a Pollution Prevention Plan for each net
pen facility that addresses “operations, spill prevention, spill response, solid waste, and
stormwater discharge practices which will prevent or minimize the release of pollutants
from the facility to waters of the state.” Condition S6. Cooke is required to “assure that
the operations staff for the facility is familiar with the plan and have been adequately
trained in the specific procedures which it required.” Id. Cooke “must operate the facility
in accordance with this plan along with any subsequent amendments or revisions.” Id.
Cooke has violated these requirements by failing to prepare and/or implement a plan that
meets the requirements of the Permits for all eight of its net pen facilities located in Puget
Sound. These violations have occurred on each and every day during the last five years
and continue to occur every day.

        For each facility, the plan’s provisions must ensure that Cooke “routinely, at least
weekly, conduct visual inspections of exposed surface lines, shackles, and mooring
points;” repair or replace defective components promptly; conduct an inspection of the
main cage structure and anchoring components above and below the water line at least
once per year; “[d]ocument any problems and maintain all components to prevent failure
that could lead to fish escapements;” and “conduct inspections after any major storm
event or physical accident involving the pen structures or moorings, and make any repairs
necessary.” Permits, Condition S6.F. Upon information and belief, Cooke has violated
these requirements at all eight of its net pen facilities located in Puget Sound by failing to
conduct the required inspections, repairs and replacements, failing to document problems,
and failing to maintain components to prevent failures that could lead to fish
escapements. These violations have occurred on each and every day during the last five
years and continue to occur every day.

        G.      Violations of the Fish Release Prevention & Monitoring Plan
                Requirements.

        The Permits require Cooke maintain a Fish Release Prevention and Monitoring
Plan that includes the identification and implementation of technology that will minimize
fish escapements and procedures for routinely tracking the number of which within the
pens, the number of fish lost to predation and mortality, and the number lost due to
escapement. Permits, Condition S7.1, 6. Cooke must submit an Annual Fish Release
Report to Ecology by January 30th of each year that summarizes release data for the prior
year, including, to the extent possible, all fish released to waters of the state, including all

                                                   4
         Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 26 of 33



Significant Fish Releases, and the cause of all releases. Permits, Condition S7. Cooke has
violated these requirements at all eight of its Puget Sound net pen facilities by failing to
identify and implement technology that will minimize fish escapements, failing to
implement procedures to track the number of fish in the net pen and those lost to
predation, mortality and escapement, and by failing to submit annual Fish Release
Reports that include all of the required information, including all of the fish released and
the cause thereof.

IV.    Party Giving Notice of Intent to Sue.

       The full name, address, and telephone number of the party giving notice is:

       Wild Fish Conservancy
       15629 Main Street N.E.
       Duvall, WA 98019
       Tel: (425) 788-1167

V.     Attorneys Representing the Conservancy.

       The attorneys representing the Wild Fish Conservancy in this matter are:

 Brian A. Knutsen                                    Paul Kampmeier
 Kampmeier & Knutsen, PLLC                           Kampmeier & Knutsen, PLLC
 833 S.E. Main Street, No. 318                       615 Second Avenue, Suite 360
 Portland, Oregon 97214                              Seattle, Washington 98104
 Tel: (503) 841-6515                                 Tel: (206) 223-4088 extension 4
 Email: brian@kampmeierknutsen.com                   Email: paul@kampmeierknutsen.com

VI.    Conclusion.

        The above-described violations reflect those indicated by the information currently
available to the Conservancy. These violations are ongoing. The Conservancy intends to sue for
all violations, including those yet to be uncovered and those committed after the date of this
Notice of Intent to Sue.

        Under Section 309(d) of the Clean Water Act, 33 USC § 1319(d), Cooke is subject to a
separate daily penalty assessment for each violation (the current maximum daily penalty
assessment is $52,414 for each violation). In addition to civil penalties, the Conservancy will
seek injunctive relief to prevent further violations under sections 505(a) and (d) of the CWA, 33
USC § 1365(a) and (d), and such other relief as is permitted by law. Also, section 505(d) of the
CWA, 33 USC § 1365(d), permits prevailing parties to recover costs, including attorney’s fees.

         The Conservancy believes that this NOTICE OF INTENT TO SUE sufficiently states
grounds for filing suit. The Conservancy intends, at the close of the 60-day notice period, or
shortly thereafter, to file a citizen suit against Cooke Aquaculture Pacific, LLC under section
505(a) of the CWA.

                                                 5
Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 27 of 33
Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 28 of 33
Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 29 of 33




           EXHIBIT 2
         Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 30 of 33

            KAMPMEIER & KNUTSEN P L L C
                                 ATTORNEYS AT LAW


BRIAN A. KNUTSEN
Licensed in Oregon & Washington
503.841.6515
brian@kampmeierknutsen.com
                                       September 6, 2017

Certified U.S. Mail – Return Receipt Requested
Managing Agent
Cooke Aquaculture Pacific, LLC
P.O. Box 669
Anacortes, Washington 98221

Re:    SUPPLEMENTAL NOTICE OF INTENT TO SUE UNDER THE CLEAN WATER
       ACT

Dear Managing Agent:

        This letter is submitted on behalf of the Wild Fish Conservancy (the “Conservancy”).
This letter provides sixty days’ notice of the Conservancy’s intent to file a citizen suit or to
amend and/or supplement a the Conservancy’s pleadings in a pending citizen suit against Cooke
Aquaculture Pacific, LLC (“Cooke”) under section 505 of the Clean Water Act (“CWA”), 33
U.S.C. § 1365, for the violations described herein.

I.     Background.

       Cooke owns and/or operates eight commercial salmon net pen facilities located in Puget
Sound, Washington, where Cooke produces Atlantic salmon. Three of these net pen facilities are
located in Deepwater Bay of Cypress Island, three are located south of Bainbridge Island in Rich
Passage, one is near Port Angeles, and one is north of Hope Island in Skagit Bay.

        Cooke’s commercial salmon farms discharge pollutants to waters of the United States in
a manner that is prohibited by section 301(a) of the CWA, 33 U.S.C. § 1311(a), unless, inter
alia, authorized by National Pollutant Discharge Elimination System (“NPDES”) permits issued
under section 402 of the CWA, 33 U.S.C. § 1342. Cooke is authorized to discharge waste
materials associated with salmon net pen operations under eight NPDES permits issued by the
Washington Department of Ecology (“Ecology”) on October 26, 2007, with expiration dates of
October 26, 2012, but which have been administratively extended pending issuance of new
permits, under NPDES permit numbers WA-003153-4, WA-003154-2, WA-003152-6, WA-
003156-9, WA-003157-7, WA-003158-5, WA-003159-3, and WA-004089-4 (collectively, the
“Permits”).

       Starting on or about Saturday, August 19, 2017, one of Cooke’s net pen facilities located
in Deepwater Bay of Cypress Island began suffering structural failures. This net pen facility
suffered a near-complete structural failure and collapsed on or about Sunday, August 20, 2017.
         Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 31 of 33



The failure of these facilities has resulted in illegal discharges into Puget Sound of farmed
Atlantic salmon, carcasses of dead fish, and massive amounts of debris and other pollutants.
Currently available information suggests that these illegal releases are associated with Cooke’s
net pen facility known as “Cypress Site 2” (also known as “Site 2 – Deepwater Bay”), which is
subject to NPDES permit number WA-003157-7.

        The Conservancy issued a letter on August 24, 2017, providing notice of its intent to file
a citizen suit against Cooke for certain CWA violations related to its commercial salmon farms
in Puget Sound. This letter provides notice of the Conservancy’s intent to sue Cooke for
additional CWA violations.

II.    Violations of the Sediment Sampling and Analysis Plan Requirements.

         The Permits establish a Sediment Impact Zone (“SIZ”) for each net pen facility
that consists of the area within a one hundred (100) foot perimeter of each net pen
facility. Permits, Appendix A. When net pens are “moved or removed,” the Permits
require that Cooke “conduct Closure Monitoring in areas where the previous SIZ was
established but is no longer in effect.” Permits, Condition S2.B.4. “The goal of closure
monitoring is to monitor the return of sediment quality to baseline conditions.” Permits,
Condition S4. Additionally, the Permits require that Cooke submit a Sediment Sampling
and Analysis Plan (“SAP”) to Ecology for review and approval “at least thirty (30) days1
prior to [the] anticipated site closure or significant move.” Permits, Condition S2.B.4.
Closure monitoring must include the parameters listed in Condition S2.A.4 of the Permits
and include benthic infaunal abundance as described in Condition S2.D. Permits,
Condition S4.

        Upon information and belief, Cooke has violated these requirements by moving
and/or closing/removing one of its net pen facilities located in Deepwater Bay of Cypress
Island (believed to be the Cypress Site 2) from the SIZ without complying with the
provisions described above—including the requirements to conduct Closure Monitoring
and to submit a SAP to Ecology for approval at least thirty (30) days prior to moving or
removing/closing the facility. These violations began on or about August 19, 2017, have
occurred on each and every day since that date, and continue to occur every day.

III.   Party Giving Notice of Intent to Sue.

       The full name, address, and telephone number of the party giving notice is:

       Wild Fish Conservancy
       P.O. Box 402
       15629 Main Street N.E.
       Duvall, WA 98019
       Tel: (425) 788-1167


1
 The Permits also require, inconsistently, that Cooke submit a SAP “at least 60 days” before any
planned move or removal. Permits, Condition S4.
                                                 2
Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 32 of 33
Case 2:17-cv-01708-JCC Document 1 Filed 11/13/17 Page 33 of 33
